Exhibit G

Case 1:16-cv-01354-CCE-JEP Document 6-7 Filed 11/22/16 Page i1of3
 

State of North Carolina
Department of Environment, Health and Natural Resources
Winston-Salem Regional Office

James G. Martin, Governor DIVISION OF ENVIRONMENTAL MANAGEMENT — Margaret Plemmons Foster
William W. Cobey, Jr., Secretary GROUNDWATER SECTION Regional Manager

November 20, 1992

MEMORANDUM

TO: George Matthis, Administrative Group
FROM: Cindy Rintoul, WSRO

SUBJECT: Eligibility Determination
Faircloth Grocery
5637 South NC 49
Burlington, Alamance County, North Carolina

Incident #6160

Enclosed is the information needed to make a determination of
eligibility for Trust Fund reimbursement. This is the site that we
talked about briefly a few days ago with regards to the up coming
legal action and the possibility of third party costs. This is
also the site where tanks were removed in 1984,

I have included information with this letter that hopefully helps
you determine the eligibility of this site for reimbursement.
Much information was taken from a CSA that rejected (not accepted
as complete and possibly containing erroneous information). It
appears they are eligible for reimbursement from the Commercial
Fund for current tanks if they are leaking.
1. In November, 1984, three (3) gasoline USTs were removed
from the site. Condition of soil and/or tank unknown.

2. Mr. Pritchett owns the ust system installed after the
removal of the tanks in "84, According to the
application the tanks are still in use and discovery of
the leak occurred in March of 1992, However, the
P.I.R.F. form filled out in 12-17-90 indicates there was
contamination identified with a kerosene tank pulled in
8-89, In addition, a Notification of Federal Release

extent of the contamination by March 28, 1990.

3. Groundwater on the site has been impacted but the full

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Case 1:16-cv-01354-CCE-JEP Document 6-7 Filed 11/22/16 Page Org
 

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horizontal and vertical extent of the contamination is
not known at this time. There is compelling evidence
that contamination from this site has migrated off-site
and contaminated nearby domestic water supply wells with
a principal contaminant being MTBE, a constituent that is
sometimes added to gasoline (not kerosene). In a
December 20, 1991 letter from our office to Mr.
Pritchett notified him that he was the primary potential
source for the contamination of wells in the area.
Samples taken as far back as July, 1990 indicate low
levels of MTBE contamination.

My question is: Is the reporting criteria for releases discovered
after July 1, 1991 (see application) being met or does it have to
be? Could this leak be due to the tanks removed in 1984? Is it
reasonable to assume that this leak could have been discovered if
the full extent of the contamination were identified as required in
the 11/28/89 and the 12/20/91 letters? (First water sample due to
complaint taken in July, 1990.)

Please advise.

Thanks.

Case 1:16-cv-01354-CCE-JEP Document 6-7 Filed 11/22/16 pahers ypcss
